Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 1 of 14 PageID 283




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

    UNITED STATES OF AMERICA

    v.                                       CASE NO. 6:20-cr-80-Orl-37DCI

    JAKELINE LUMUCSO

              UNITED STATES’ SENTENCING MEMORANDUM

          The United States of America, by undersigned counsel, files its

   sentencing memorandum and requests the Court to sentence the defendant to

   the low-end of the sentencing guidelines range. This sentence will achieve the

   purposes of sentencing set forth in 18 U.S.C. § 3553(a) because it will reflect

   the seriousness of the offense and the characteristics of the defendant, and it

   will promote respect for the law, provide just punishment, and afford adequate

   deterrence.

                                   BACKGROUND

          For more than three years, the defendant Jakeline Lumucso and her

   sister, Petra Gomez, engaged in a scheme to file fraudulent tax returns and

   steal the personal information of previous tax clients. Doc. 40, at 18. As a

   result of the scheme, they filed more than 7000 fraudulent returns, and caused

   the Treasury Department to pay more than $24 million in fraudulent refunds.

   Id., at 24; Doc. 71, at ¶ 32.
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 2 of 14 PageID 284




           The defendants executed their scheme through Universal Tax,

   Gomez’s tax preparation business, where Lumucso managed the day-to-day

   operations of the business and reported to Gomez. Id., at 18-19. In addition to

   her managerial responsibilities, Lumucso also prepared and filed tax returns,

   printed tax refund checks, and filed applications with the IRS. See id, at 22;

   Doc. 71 at ¶ 23.

         Gomez operated Universal Tax at five locations, and she marketed her

   tax preparation services primarily to the Latino community. Doc. 40, at 19.

   Many of Universal Tax’s clients were undocumented and nonresident aliens,

   who only spoke Spanish. Id., at 19. As a tax return preparer, Gomez

   participated in the IRS’s E-file program and obtained electronic filing

   identification numbers (EFIN) for Universal Tax’s locations, which

   authorized Universal Tax to electronically file tax returns for clients. Id.

   Gomez advertised “100% Refund Guarantee” on Universal Tax’s Facebook

   page and on signage outside of her offices. Id., at 20.

         Gomez and Lumucso executed their scheme through several means.

   First, they instructed Universal Tax employees to submit false utility and other

   residency documents to the IRS to obtain Individual Taxpayer Identification

   Numbers (ITINs) for their clients so that the IRS would accept and process

   their tax returns. Id., at 19-20. Second, they instructed employees to falsify




                                            2
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 3 of 14 PageID 285




   items such as deductions, exemptions and credits on a client’s tax return to

   generate a refund. Id., at 18, 20. Third, they instructed employees to file

   fraudulent returns using the personal information of previous Universal Tax

   clients without their consent to obtain tax refunds. Id., at 20. Fourth, Gomez

   instructed employees to prepare and file fraudulent returns using foreign

   identification documents and ITINs of individuals whom the preparers never

   met. Id. Gomez provided this information to employees in folders and boxes,

   and she instructed employees to “play” with the numbers to ensure that the

   returns generated refunds. Doc. 71, at ¶ 22. Gomez and other unindicted co-

   conspirators illegally cashed unclaimed refund checks at check cashing

   businesses located in Ocala, Florida and other areas in Central Florida. Doc.

   40, at 21.

          In April 2014, the IRS suspended Gomez and Universal Tax from

   participating in the IRS’s E-file program for filing fraudulent tax returns and

   revoked Universal Tax’s EFINs, thus thwarting the defendants’ scheme. Id., at

   22. Thereafter, in May 2014, Lumucso changed Universal Tax’s name to

   Universal Financial and applied to participate in the IRS’s E-file program

   using the name Universal Financial. Id., at 22-23. Lumucso listed herself as the

   principal of the business and the primary contact on the EFIN application and

   did not disclose Gomez’s involvement in the business. She also obtained




                                           3
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 4 of 14 PageID 286




   EFINs for each of Universal Tax’s locations using the name Universal

   Financial. Id., at 23. Gomez and Lumucso continued to operate Universal Tax

   and E-file false tax returns to the IRS using Universal Financial’s EFINs. Id.

         In October 2015, the IRS suspended Lumucso and Universal Financial

   from participating in the IRS’s E-file program and revoked Universal

   Financial’s EFINs due to fraud. Id., at 23. Undeterred, the defendants used

   nominees (including Gomez’s daughter and her boyfriend) to incorporate and

   register the shell entities (1) Resurrection Tax, Inc., (2) Living Faith Tax, Inc.,

   and (3) Living Hope Tax, Inc., with the State of Florida. Id., at 23-24.

   Lumucso then applied for and obtained EFINs for Universal Tax’s locations

   in the name of each shell entity and listed the nominee as the principal of the

   business and the primary contact on the EFIN applications. Id., at 23-24.

   Gomez and Lumucso continued to operate Universal Tax and E-file

   fraudulent tax returns to the IRS using the shell entities’ EFINs.

         The defendants, through Universal Tax, submitted or caused the

   submission of approximately 7234 fraudulent tax returns claiming false tax

   refunds. Id., at 24. The Treasury Department paid fraudulent refunds totaling

   $24,940,495. Doc. 71, at ¶ 32. During the conspiracy, Gomez paid Lumucso a

   salary and commissions of at least $250,000 and used at least $800,000 of the

   fraudulent proceeds to pay for Lumucso’s lavish, custom-built house. Doc. 40,




                                            4
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 5 of 14 PageID 287




   at 24.

            The defendant faces a maximum statutory term of imprisonment of ten

   years, and a guidelines range of 87 to 108 months in prison. Doc. 71, ¶ 83. The

   United States previously filed a motion for downward departure and requested

   the Court to grant a four-level departure due to the defendant’s substantial

   assistance both pre-indictment and post-indictment. Doc. 70. If the Court

   grants the motion, the defendant’s sentencing guidelines range will be 57 to 71

   months in prison. For the reasons set forth below, the United States requests

   that the Court sentence the defendant to the low-end of the guideline range.

                                     ARGUMENT
   I.       Guidelines Objections

            1.    Sophisticated Means

            Contrary to the defendant’s objection, the Probation Office properly

   applied a two-level upward adjustment because the defendant’s offense

   involved sophisticated means and she intentionally engaged in the conduct

   constituting sophisticated means. U.S.S.G. § 2B1.1(b)(10). “[S]ophisticated

   means [is] especially complex or especially intricate offense conduct pertaining

   to the execution or concealment of an offense.” U.S.S.G. § 2B1.1(b)(10), cmt.

   (n.9(B)). “Conduct such as hiding … transactions … through the use of …

   corporate shells … ordinarily indicates sophisticated means.” Id. Conduct

   need not involve banking or financial methods in order to constitute



                                            5
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 6 of 14 PageID 288




   sophisticated means. United States v. Friend, 104 F.3d 127, 130 (7th Cir. 1997).

   Moreover, even if certain acts would not constitute sophisticated means when

   considered in isolation, such acts may constitute sophisticated means when

   taken together. United States v. Feaster, 798 F.3d 1374, 1380 (11th Cir. 2015)

   (affirming the totality of the scheme standard); United States v. Green, 648 F.3d

   569, 576-77 (7th Cir. 2011)(affirming an application of the sophisticated

   means sentencing enhancement based on the overall sophistication of the

   scheme).

         The defendant’s overall scheme was especially intricate and

   sophisticated. Over a period of more than three years, she and her sister

   engaged in a scheme to defraud the IRS by filing and causing the filing of over

   7,000 fraudulent tax returns to obtain tax refunds. They employed different

   means to execute the scheme, including placing false items on a return to

   generate a refund for legitimate clients, using the stolen personal information

   of previous clients to prepare and file false returns, and using personal

   information of unknown individuals to prepare and file false returns. When

   the IRS suspended Gomez and Universal Tax from participating in its E-file

   program, Lumucso changed Universal Tax’s name and applied for EFINS

   using that entity which enabled her to conceal Gomez’s role and continue

   executing the scheme. When the IRS suspended Lumucso and Universal

   Financial from the E-file program, Lumucso with the assistance of Gomez,


                                           6
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 7 of 14 PageID 289




   created three new shell entities and applied for EFINS using the shell entities

   and their nominees in order to conceal their involvement from the IRS and

   continue executing the scheme. Lumucso’s and Gomez’s participation in the

   lengthy and sophisticated scheme caused a loss of over $24 million to the

   Treasury. Feaster, 798 F.3d at 1380-81 (repetitive acts, length of scheme and

   loss inflicted are acceptable factors to evaluate in determining whether scheme

   employed sophisticated means).

         Lumucso also demonstrated sophisticated knowledge of the IRS’s E-file

   and ITIN programs. She used that knowledge to abuse the system, and to

   execute and conceal the tax scheme by obtaining ITINS for Universal Tax’s

   clients so that they could file tax returns, and using shell entities and nominees

   to gain access to the IRS’s E-file program. See United States v. Loute, 758

   Fed.Appx. 814, 817 (11th Cir. 2018)(affirming sophisticated means in car-

   staging accident scheme because defendant demonstrated sophisticated

   knowledge of Florida licensure requirements and insurance claims process).

   Thus, the totality of the defendant’s offense conduct was sophisticated and the

   two-level enhancement for sophisticated means is proper.



         2.     Means of Identification

         The Probation Office also properly applied the two-level adjustment for

   use of a means of identification under U.S.S.G. § 2B1.1(b)(11). Specifically,


                                           7
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 8 of 14 PageID 290




   that provision directs the Court to apply a two-level adjustment if the offense

   involved “the unauthorized transfer or use of any means of identification

   unlawfully to produce or obtain any other means of identification.” The

   Guidelines adopt the definition of the term “means of identification” provided

   under 18 U.S.C. § 1028(d)(7). See U.S.S.G. § 2B1.1, cmt. (n.1). Under §

   1028(d)(7), “means of identification” is “any name or number that may be

   used, alone or in conjunction with any other information, to identify a specific

   individual, including any (A) name, social security, date of birth … taxpayer

   identification number … (C) unique electronic identification number, address

   or routing code.” 18 U.S.C. § 1028(d)(7).

         Here, the defendants used the name, social security number or ITIN of

   their previous clients (first means of identification) to produce fraudulent tax

   returns to obtain false refunds. The IRS assigned a unique identifier or

   document locator number tied to a particular taxpayer on each tax return

   (second means of identification). The Treasury Department issued tax refunds

   based on these false tax returns. Courts have held that document locator or

   other control numbers constitute a “means of identification.” See United States

   v. Kalu, 936 F.3d 678, 682-83 (5th Cir. 2019)(Medicare claim number

   produced from Medicare claim information constituted means of

   identification); United States v. Johnson, 658 Fed.Appx. 244, 247 (6th Cir.

   2016)(document locator numbers on tax returns constituted means of


                                           8
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 9 of 14 PageID 291




   identification); United States v. Gonzalez, 644 Fed.Appx. 456, 464-65 (6th Cir.

   2016)(document control numbers on health care claims constituted means of

   identification). Accordingly, the two-level enhancement for means of

   identification under U.S.S.G. § 2B1.1(b)(11)(C) is proper.

          3.    Abuse of Position of Trust

          Finally, the Probation Office properly applied the adjustment for role in

   the offense under U.S.S.G. § 3B1.3. Section 3B1.3 provides, “[i]f the

   defendant abused a position of public or private trust, or used a special skill, in

   a manner that significantly facilitated the commission or concealment of the

   offense, increase by two levels.” The adjustment applies when the defendant

   “exceeds or abuses the authority of her position in order to obtain, transfer …

   or use without authority, any means of identification.” U.S.S.G. § 3B1.3, cmt.

   (n.2(B)).

          Here, Ms. Lumucso abused a position of trust when she prepared and

   submitted fraudulent tax returns using personal identification information that

   Universal Tax’s clients provided and entrusted to her for the preparation of

   their tax returns. See United States v. Williams, 605 App’x 878, 881 (11th Cir.

   2015). In addition, as a tax preparer, she abused a position of trust when she

   concealed from the IRS her role and Gomez’s role in operating Universal

   Financial and the other shell companies by obtaining EFINS in those

   company names, after the IRS suspended them from the E-file program for


                                            9
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 10 of 14 PageID 292




   fraud. The IRS authorizes tax preparers to participate in its E-File program

   and electronically file tax returns for their tax clients. By creating shell

   companies using nominees and concealing their role from the IRS, Lumucso

   and Gomez succeeded at continuing and concealing the execution of their tax

   scheme and abused their position of trust as tax return preparers.

          In addition, Ms. Lumucso also used a special skill to commit the

   offense. Although she did not have formal training as a tax preparer, Ms.

   Lumucso possessed tax preparation skills beyond those of the average person

   (especially her clients, many of whom were non-resident aliens who did not

   understand the U.S. tax laws), as demonstrated by her preparation of

   fraudulent individual and business tax returns, her interactions with a third-

   party tax refund processor, and her receipt of paid preparer tax identification

   numbers and electronic filing identification numbers from the IRS. See United

   States v. Alejandrez, 701 Fed.Appx. 789, 790-91 (11th Cir. 2017). And, she used

   those skills to facilitate the commission of the offense and concealment of the

   offense from the IRS. Thus, the two-level adjustment for abuse of a position of

   trust or use of a special skill is proper.

          II.    Sentencing Recommendation

          For the reasons set forth below, the United States requests the Court to

   impose a sentence of imprisonment at the low-end of the guidelines range.

   This sentence is reasonable and reflects the sentencing factors under 18 U.S.C.


                                                10
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 11 of 14 PageID 293




   § 3553(a).

         1.       The Nature and Circumstances of the Offense

         The nature, circumstances and extent of Ms. Lumucso’s criminal

   conduct is serious and weighs in favor of a guidelines sentence. See 18 U.S.C. §

   3553(a)(1). Over a period of more than 3 years, the defendant and her sister

   engaged in a multi-faceted scheme to defraud the IRS and obtain fraudulent

   tax refunds. Through the scheme, the defendant filed or caused the filing of

   more than 7000 fraudulent tax returns, resulting in a loss of more than $24

   million to the U.S. Treasury. Not only did the defendant victimize the IRS

   and the Treasury, but she also victimized many individual taxpayers, many of

   whom were unskilled and lacked knowledge about the federal tax system, by

   stealing their personal information to file fraudulent returns.

              The appalling nature of the defendant’s misconduct, the victimization

   of numerous individuals and the government, the amount of loss involved, and

   the longevity of the scheme militate in favor of a low-end guidelines sentence.

         2.       The History and Characteristics of the Defendant

         The defendant’s history and characteristics also weigh in favor of a low-

   end guidelines sentence. The defendant has largely lived a privileged life. She

   was raised in a loving household, has a supportive family, lives in a nice house

   and is educated. Doc. 71, at ¶¶ 63-71. She is also in good physical and mental

   health. Id. at 72-73. Despite this good fortune, the defendant chose to engage in


                                           11
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 12 of 14 PageID 294




   a multi-faceted tax scheme to steal personal information from taxpayers and to

   steal millions of dollars from the Treasury. Although the defendant has no

   criminal history, she engaged in her criminal activity for more than three years

   and profited from it.

         3.     The Need for the Sentence to Reflect the Seriousness of the
                Offense, Promote Respect for the Law, and Provide Just
                Punishment for the Offense

         A low-end guideline sentence also reflects the seriousness of the offense,

   promotes respect for the law, and provides just punishment for the offense. 18

   U.S.C. § 3553(a)(2)(A).

         As set forth above, the defendant’s crime is serious. She caused a very

   large loss to the U.S. Treasury and victimized individual taxpayers by

   participating in a scheme to steal their personal information. See U.S.S.G. §

   2T1.1, Background (“[A] greater tax loss is obviously more harmful to the

   treasury and more serious than a smaller one with otherwise similar

   characteristics.”). The defendant cooperated in the case and is remorseful; a

   sentence at the low-end of the guidelines adequately reflects the seriousness of

   her offense, promotes respect for the law and provides just punishment.

         4.     The Need for the Sentence to Afford Adequate Deterrence

         A low-end sentence will also afford adequate deterrence in this case.

   A low-end sentence is sufficient to deter the defendant from committing

   crimes in the future.


                                         12
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 13 of 14 PageID 295




         For the foregoing reasons, the United States respectfully requests the

   Court to sentence the defendant at the low-end of the guidelines. Considering

   the serious nature of the offense, the defendant’s personal characteristics and

   the need to promote just punishment, respect for the law, and adequate

   deterrence, a low-end guideline sentence is reasonable.

                                           Respectfully submitted,

                                           MARIA CHAPA LOEZ
                                           United States Attorney

                                    By:    s/ Karen L. Gable
                                           Karen L. Gable
                                           Assistant United States Attorney
                                           USA No. 025
                                           400 W. Washington Street
                                           Suite 3100
                                           Orlando, Florida 32801
                                           Telephone: (407) 648-7500
                                           Facsimile: (407) 648-7643
                                           Email: karen.gable@usdoj.gov




                                          13
Case 6:20-cr-00080-RBD-DCI Document 74 Filed 02/19/21 Page 14 of 14 PageID 296




   U.S. v. Jakeline Lumucso                        Case No. 6:20-cr-80-Orl-37DCI

                           CERTIFICATE OF SERVICE

          I hereby certify that on February 19, 2021, I electronically filed the

   foregoing with the Clerk of the Court by using the CM/ECF system which

   will send a notice of electronic filing to the following:

          David Haas, Esq.


                                             s/ Karen L. Gable ____________
                                             Karen L. Gable
                                             Assistant United States Attorney
                                             USA No. 025
                                             400 W. Washington Street, Suite 3100
                                             Orlando, Florida 32801
                                             Telephone: (407) 648-7500
                                             Facsimile: (407) 648-7643
                                             E-mail:      karen.gable@usdoj.gov




                                           14
